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             EXHIBIT A
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                                                                           317



 1                  BEFORE THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3   FAIRHOLME FUNDS, INC., et al.,  .
                                     .
 4             Plaintiffs,           .
                                     .
 5         vs.                       .        Case Number 13-cv-1053
                                     .
 6   FEDERAL HOUSING FINANCE AGENCY, .
     et al.,                         .
 7                                   .
               Defendants.           .
 8   - - - - - - - - - - - - - - - -
     In re FANNIE MAE/FREDDIE MAC    .       Case Number 13-mc-1288
 9   SENIOR PREFERRED STOCK PURCHASE .
     AGREEMENT CLASS ACTION          .       Washington, D.C.
10   LITIGATIONS.                    .       October 18, 2022
     - - - - - - - - - - - - - - - -         2:19 p.m.
11

12               TRANSCRIPT OF JURY TRIAL, AFTERNOON SESSION
                    BEFORE THE HONORABLE ROYCE C. LAMBERTH
13                      UNITED STATES DISTRICT JUDGE

14
     APPEARANCES:
15
     For Berkley Plaintiffs:          BRIAN BARNES, ESQ.
16                                    Cooper & Kirk, PLLC
                                      1523 New Hampshire Avenue Northwest
17                                    Washington, D.C. 20036

18   For Class Plaintiffs:            LEE RUDY, ESQ.
                                      Kessler Topaz Meltzer & Check, LLP
19                                    280 King of Prussia Road
                                      Radnor, Pennsylvania 19087
20
                                      HAMISH HUME, ESQ.
21                                    SAMUEL KAPLAN, ESQ.
                                      KENYA DAVIS, ESQ.
22                                    Boies Schiller Flexner LLP
                                      1401 New York Avenue Northwest
23                                    Washington, D.C. 20005

24

25                              -- continued --
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 3 of 18
                                                                           322



 1   FHFA was taking action to protect the United States economy.

 2   And FHFA was taking action to protect the American public.

 3         And you're going to learn that FHFA had an obligation to

 4   act in the public interest.       And the evidence will show you that

 5   when FHFA put the public interest first, when FHFA agreed to the

 6   Third Amendment and the net worth sweep ahead of the interests

 7   of private shareholders to save the economy, that action was

 8   completely reasonable.

 9         And that, members of the jury, is going to be the key to

10   this case, because the evidence will show you that any

11   reasonable shareholder would have known that FHFA was going to

12   act in the public interest, even if that meant private

13   shareholders might lose money or dividends.

14         And you will learn that when FHFA acted as conservator and

15   agreed to the Third Amendment and the net worth sweep, that

16   action in the public interest was completely in line with

17   shareholders' reasonable expectations.

18         You are going to learn that reasonable shareholders knew

19   that they shouldn't expect dividends, because not a single

20   shareholder, not one, not a single shareholder of Fannie and

21   Freddie had received a penny of dividends for years before the

22   Third Amendment went into effect.       Shareholders knew that FHFA

23   as conservator could make decisions in the public interest, even

24   at shareholder expense.

25         Now, Mr. Hume talked to you about Mr. DeMarco, and I'm
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 4 of 18
                                                                             369



 1   whether he could afford to take any risk with the fate of the

 2   economy hanging in the balance.

 3         The evidence will show you, there's no dispute, that the

 4   circular draws were eroding the Treasury commitment.          And

 5   there's no dispute that that erosion put the economy at risk.

 6   The evidence is going to show you, members of the jury, that by

 7   agreeing to the Third Amendment and the net worth sweep,

 8   Mr. DeMarco and FHFA, acting as conservator, completely

 9   eliminated that risk.      They took it down to zero.

10         Mr. DeMarco is going to explain that he understood and

11   understood deeply that FHFA was given the responsibility to act

12   in the public interest first and foremost.         He's going to tell

13   you that that meant that he had to figure out a way to eliminate

14   the circular draws and the problem of erosion.

15         So how did the Third Amendment work?        How did the Third

16   Amendment and the net worth sweep eliminate that risk of

17   circular draws?     Well, the key to the Third Amendment is that it

18   changed the way that Fannie and Freddie made dividend payments

19   to Treasury.    The Third Amendment eliminated the risk of

20   circular draws and eliminated that risk completely, because the

21   real problem had been the fixed dividend.         You remember that the

22   evidence will show that the fixed dividend required payments

23   from Fannie and Freddie of 10 percent, even in quarters when

24   they couldn't cover those payments on their own and then had to

25   draw on the Treasury commitment to pay the dividend.
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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

  FAIRHOLME FUNDS, INC., ET AL., et al,           Civil Action
                                                  No. 1:13-1053
                       Plaintiffs,

           vs.
                                                  October 20, 2022
  FEDERAL HOUSING FINANCE                         1:40 p.m.
        AGENCY, et al,                            Washington, DC


                    Defendants.
  __________________________

  In re: FANNIE MAE/FREDDIE MAC                  Civil Action
  SENIOR PREFERRED STOCK PURCHASE                13-1288
  AGREEMENT CLASS ACTION
  LITIGATIONS.
  __________________________


            TRANSCRIPT OF JURY TRIAL - AFTERNOON SESSION
               BEFORE THE HONORABLE ROYCE C. LAMBERTH
                    UNITED STATES DISTRICT JUDGE


  PLAINTIFFS' APPEARANCES:

  For Plaintiffs:             CHARLES COOPER
                              DAVID THOMPSON
                              VINCENT COLATRIANO
                              PETER PATERSON
                              BRIAN BARNES
                                Cooper & Kirk, PLLC
                                1523 New Hampshire Avenue NW
                                Washington, D.C. 20036

  For Class Plaintiffs:       ERIC ZAGAR
                                Kessler Topaz Meltzer & Check, LLP
                                280 King of Prussia Road
                                Radnor, Pennsylvania 19087

                              HAMISH HUME
                              SAMUEL KAPLAN
                                Boies Schiller Flexner LLP
                                1401 New York Avenue NW
                                Washington, D.C. 20005
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 6 of 18
                                                                            818

1                  THE COURT:    When you phrased the question, you

2      left out common.

3                  MR. STERN:    Sure.

4      BY MR. STERN:

5             Q.   Does this tell you anything about the public

6      interest strategy after conservatorship?

7             A.   Well, the next two bullets go to what it is they

8      are trying to do.

9             Q.   And do those next two bullets relate to the public

10     interest or do they relate to something else?

11                 MR. HUME:    Objection, Your Honor.      He is asking

12     for a lay opinion and it's irrelevant.

13                 MR. STERN:    It's not a lay opinion, Your Honor.

14     This is the heart of his job.

15                 THE COURT:    Overruled.

16                 MR. STERN:    I'm sorry?

17                 THE COURT:    I said overruled.

18     BY MR. STERN:

19            Q.   How do those relate to the public interest, if at

20     all?

21            A.   Because it's indicating that they are focused on

22     profitability if it does not adversely affect their ability

23     to do other things as directed by their conservator.              It's

24     making clear that the conservator has a responsibility to

25     indicate what it is the companies are managing for.
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 7 of 18
                                                                         855

1      shareholders of contracting or shrinking Fannie or Freddie?

2            A.    Well, by contracting them, we're going to be

3      reducing their revenue over time.        We're de-risking them,

4      but the total profits, if you're trying to shrink a company,

5      are likely to be less than what they were if you were not

6      shrinking them.

7            Q.    Did you believe that taking those steps, even

8      though it might lower the revenues, was something that was

9      in the public interest?

10           A.    Yes, I did.

11           Q.    In what way?

12           A.    In two ways.    One is that it was reducing the risk

13     exposure of the Treasury.       So the Treasury's got this

14     commitment we've been talking about, you know, non-stop.

15     All right?    If I can reduce the risk of these companies,

16     then there's less exposure to that Treasury commitment.

17                 And the other thing is, by taking the steps I was

18     doing, I was fulfilling a mandate that -- part of the

19     mission of Fannie and Freddie which is to make the private

20     market work better.      And so I believed it was in the public

21     interest to figure out ways to expand capital in this

22     industry and to expand the potential for more competition

23     and more credit here.      So by shrinking them, I actually was

24     building for a future, more stable, more competitive

25     marketplace.
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 8 of 18     867


 1                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
 2
         - - - - - - - - - - - - - - - x
 3       FAIRHOLME FUNDS, INC., et al.,
                                               CA No: 1:13-cv-01053-RCL
 4                        Plaintiffs,
                                               Washington, D.C.
 5                                             Friday, October 21, 2022
         vs.                                   2:15 p.m.
 6
         FEDERAL HOUSING FINANCE AGENCY,
 7       et al.,

 8                     Defendants.
         - - - - - - - - - - - - - - - x
 9       IN RE: FANNIE MAE/FREDDIE MAC          Case Number 1:13-cv-1288
         SENIOR PREFERRED STOCK PURCHASE
10       AGREEMENT CLASS ACTION
         LITIGATIONS
11
         ____________________________________________________________
12
                  TRANSCRIPT OF JURY TRIAL - MORNING SESSION
13                HELD BEFORE THE HONORABLE ROYCE C. LAMBERTH
                         UNITED STATES DISTRICT JUDGE
14       ____________________________________________________________

15       APPEARANCES:

16       For the Berkley Plaintiffs:      BRIAN BARNES, ESQ.
                                          COOPER & KIRK, PLLC
17                                        1523 New Hampshire Avenue, NW
                                          Washington, D.C. 20036
18
         For Class Plaintiffs:            LEE D. RUDY ESQ.
19                                        KESSLER TOPAZ MELTZER & CHECK
                                          280 King of Prussia Road
20                                        Radnor, Pennsylvania 19087

21                                        HAMISH HUME, ESQ.
                                          KENYA DAVIS, ESQ.
22                                        SAMUEL KAPLAN, ESQ.
                                          BOIES SCHILLER FLEXNER LLP
23                                        1401 New York Avenue Northwest
                                          Washington, D.C. 20005
24
         (CONTINUED ON NEXT PAGE)
25
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 9 of 18   930


 1       policymakers contemplate the future of Fannie Mae and

 2       Freddie Mac."

 3                  So breaking that down, the first sentence is

 4       saying that Fannie Mae and Freddie Mac themselves, including

 5       their senior executives, look, we've removed this concern

 6       that you've been talking about about the potential erosion

 7       of the commitment.     We're also informing market

 8       participants, which would include the investors in their

 9       debt securities and MBS, that the concern that we've been

10       hearing about, could this commitment erode, we've taken care

11       of that, and that's going to give the stability to allow

12       Fannie and Freddie to continue to meet their mission of

13       liquidity and stability of the market.

14                  The second sentence is going to what's going on in

15       the policy arena, which is Congress is developing

16       legislation to wind down Fannie Mae and Freddie Mac,

17       recognizing that the Treasury Department's already sent a

18       report to Congress calling for the wind-down of Fannie Mae

19       and Freddie Mac.    And I'm saying that as they contemplate

20       this future, as they contemplate housing finance reform and

21       winding down the companies, these steps are going to be

22       important to allowing that kind of transition to take place

23       without a disruption to the housing finance system.

24       Q.   And I have just a few more questions sort of about

25       concept, but before I get to those, just a question about
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 10 of 18     932


 1       fundamental part of safety and soundness is having enough

 2       sufficient capital.     That's why I did not want to erode the

 3       remaining Treasury Commitment because that Treasury

 4       Commitment was the capital that was allowing Fannie Mae and

 5       Freddie Mac to operate.

 6       Q.   The jury has heard a lot about the public interest.         Can

 7       you please just summarize for us how the operation -- the

 8       mechanics and the effect of the Third Amendment -- serves

 9       the public interest, if it did?

10       A.   It did by providing this sense of stability to how the

11       market -- that is, the investors in debt and mortgage-backed

12       securities of Fannie Mae and Freddie Mac should understand

13       the resiliency of this Treasury Commitment going forward.

14       Q.   Mr. DeMarco, I'm near the end now, so I want to ask you

15       to examine your life.

16                   Looking back now, knowing how history has played

17       out, what is your thinking about the way FHFA operated

18       Fannie and Freddie in conservatorship during your years at

19       FHFA?

20       A.   I think what FHFA accomplished during my four and a half

21       years of being acting director was substantial.          It's

22       something I'm very proud of.       I'm very proud of the people

23       at FHFA for what they got done.

24                   We took over as conservator of Fannie Mae and

25       Freddie Mac during one of the darkest periods of time in our
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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

   FAIRHOLME FUNDS, INC., ET AL., et al,           Civil Action
                                                   No. 1:13-1053
                        Plaintiffs,

           vs.
                                                   October 27, 2022
   FEDERAL HOUSING FINANCE                         9:39 a.m.
         AGENCY, et al,                            Washington, DC


                     Defendants.
   __________________________

   In re: FANNIE MAE/FREDDIE MAC                 Civil Action
   SENIOR PREFERRED STOCK PURCHASE               13-1288
   AGREEMENT CLASS ACTION
   LITIGATIONS.
   __________________________


             TRANSCRIPT OF JURY TRIAL - MORNING SESSION
               BEFORE THE HONORABLE ROYCE C. LAMBERTH
                    UNITED STATES DISTRICT JUDGE


   PLAINTIFFS' APPEARANCES:

   For Plaintiffs:             CHARLES COOPER
                               DAVID THOMPSON
                               VINCENT COLATRIANO
                               PETER PATERSON
                               BRIAN BARNES
                                 Cooper & Kirk, PLLC
                                 1523 New Hampshire Avenue NW
                                 Washington, D.C. 20036

   For Class Plaintiffs:       ERIC ZAGAR
                                 Kessler Topaz Meltzer & Check, LLP
                                 280 King of Prussia Road
                                 Radnor, Pennsylvania 19087

                               HAMISH HUME
                               SAMUEL KAPLAN
                                 Boies Schiller Flexner LLP
                                 1401 New York Avenue NW
                                 Washington, D.C. 20005
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 12 of 18
                                                                          1970

1       know, investors became more confident.        In kind of over the

2       same timeline, bond prices went up.        The two things kind of

3       line up and are consistent.

4             Q.    So let's go to the next slide and just I want to

5       get your sort of bottom-line conclusion with respect to the

6       reasonableness of FHFA's decision to enter into the Third

7       Amendment.    Can you explain your bottom-line conclusion as

8       you've laid it out here?

9             A.    Sure.   So I start with the goals of the PSPAs.

10      And these are the stated goals that we looked at very early

11      on in the day.      And that was to increase mortgage-backed

12      security and bond-investor confidence.

13                  Now, by the time you get to 2012, there's concern.

14      Investors are expressing concern.        That's kind of causing a

15      little bit of reduced confidence.        And that concern is that

16      these circular dividends are going forward.

17                  And those circular dividends, which is because

18      profits are not large enough to cover dividends, will erode

19      the commitment.     And there might not be money left in the

20      pot to, you know, if you have a downturn, for example.

21                  And the solution is that the Third Amendment makes

22      those dividends equal to profits.        Now you've eliminated the

23      possibility that you have a situation where dividends are

24      more than profits.     And the investors, the market

25      participants who write reports basically make that point.
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 13 of 18
                                                                          1971

1                   You know, people put their money where their mouth

2       is, as it were, and bond prices go up.        And so the decision

3       and the action achieved the goal.        So that's why I think

4       it's reasonable.

5                   MR. HOFFMAN:    Your Honor, I have one more short

6       section to continue, and I'm happy to proceed unless you

7       think it's a good time for a break.

8                   THE COURT:    Let's do it at 1:30.

9                   MR. HOFFMAN:    Okay.   Thank you, Your Honor.

10                  THE COURT:    Don't talk about the case.      Don't let

11      anyone talk to you about the case.        I'll see you all back at

12      1:30.

13            (Jury exited the courtroom)

14                  THE COURT:    I need counsel to wait in the

15      courtroom for a moment.

16                  One of the jurors gave me a note that I needed to

17      discuss with you.     I need to talk with the juror first.

18                  MR. HOFFMAN:    Absolutely, Your Honor.

19            (The Judge exited the bench to speak with the juror)

20                  THE COURT:    Be seated.

21                  Actually, we can do this on the phone.        It doesn't

22      need to be public record at this stage until we decide what

23      we're going to do.     I just got another note too.

24            This is going to be a sealed conference with counsel

25      only.
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 14 of 18
                                                                          2512



 1                   BEFORE THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
 2

 3    FAIRHOLME FUNDS, INC., et al.,  .
                                      .
 4              Plaintiffs,           .
                                      .       Case Number 13-cv-1053
 5          vs.                       .
                                      .
 6    FEDERAL HOUSING FINANCE AGENCY, .
      et al.,                         .
 7                                    .
                Defendants.           .
 8    - - - - - - - - - - - - - - - -
      In re FANNIE MAE/FREDDIE MAC    .       Case Number 13-mc-1288
 9    SENIOR PREFERRED STOCK PURCHASE .
      AGREEMENT CLASS ACTION          .       Washington, D.C.
10    LITIGATIONS.                    .       October 31, 2022
      - - - - - - - - - - - - - - - -         1:49 p.m.
11

12               TRANSCRIPT OF JURY TRIAL, AFTERNOON SESSION
                    BEFORE THE HONORABLE ROYCE C. LAMBERTH
13                      UNITED STATES DISTRICT JUDGE

14    APPEARANCES:

15    For Berkley Plaintiffs:         BRIAN BARNES, ESQ.
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16                                    1523 New Hampshire Avenue Northwest
                                      Washington, D.C. 20036
17
      For Class Plaintiffs:           LEE RUDY, ESQ.
18                                    ERIC ZAGAR, ESQ.
                                      Kessler Topaz Meltzer & Check, LLP
19                                    280 King of Prussia Road
                                      Radnor, Pennsylvania 19087
20
                                      HAMISH HUME, ESQ.
21                                    SAMUEL KAPLAN, ESQ.
                                      KENYA DAVIS, ESQ.
22                                    Boies Schiller Flexner LLP
                                      1401 New York Avenue Northwest
23                                    Washington, D.C. 20005

24

25                           -- continued --
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 15 of 18
                                                                          2580



 1    action was not only reasonable, it was crucial.

 2           And the evidence showed that any shareholder would

 3    reasonably expect Mr. DeMarco and FHFA to do exactly what they

 4    did.   A reasonable shareholder would know and knew that their

 5    equity, their investment in these companies, had been virtually

 6    wiped out years before.     They knew that the only reason the

 7    companies hadn't gone out of business was that the Treasury

 8    Department had stepped in with billions of dollars of taxpayer

 9    money.

10           Those shareholders knew that under their shareholder

11    contracts, they did not have any guaranteed right to dividends.

12    They knew that their dividends had been eliminated as of 2012

13    years ago, in September of 2008.

14           And they knew that under HERA, that Housing Economic

15    Recovery Act, they knew that FHFA was authorized to take action

16    in the public interest, even if that action was not in the

17    interest of the shareholders.      And they knew that under

18    conservatorship, the companies were being managed to protect

19    that public interest, not to maximize returns for shareholders.

20           And because shareholders knew all of those things, it's

21    crystal clear that a reasonable shareholder would have

22    reasonably expected FHFA to act in the public interest by

23    ensuring the stability and safety of Fannie and Freddie, to

24    ensure the stability and safety of the United States housing

25    market and the entire United States economy.
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 16 of 18
                                                                          2586



 1         "The agency may as conservator take any action authorized

 2    by this section which the agency determines is in the best

 3    interests of the regulated entity or the agency."

 4         And the judge's instructions will make clear to you -- and

 5    this is not in dispute -- that what that means is the FHFA, when

 6    it is acting as the conservator, has the authority to act in the

 7    best interests of the public.

 8         And we understand and agree that the question for you is

 9    whether that authority was exercised reasonably.         But we start

10    from the proposition that that is a part of FHFA's job and a

11    part of the responsibility that Congress gave it, the

12    responsibility to protect the public interest.

13         And Mr. DeMarco knew that FHFA had that authority and had

14    that responsibility.     He knew that FHFA had the authority to put

15    the best interests of the public ahead of the financial

16    interests of the shareholders.      And you heard him testify that

17    he understood that on top of the public mission that Fannie and

18    Freddie had always had, HERA gave the conservator that

19    additional authority and that additional responsibility.

20         And that, members of the jury, is what lies at the very

21    heart of this case:     Mr. DeMarco's authority and his

22    responsibility to act in the public interest and to put that

23    public interest ahead of the interests of private shareholders.

24         Well, what else did HERA say?       In addition to giving

25    HERA -- FHFA the authority to act in the public interest, it
Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 17 of 18


                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

   FAIRHOLME FUNDS, INC., et al,                   Civil Action
                                                   No. 1:13-1053
                        Plaintiffs,

           vs.
                                                   November 1, 2022
   FEDERAL HOUSING FINANCE                         10:22 a.m.
         AGENCY, et al,                            Washington, DC


                     Defendants.
   __________________________

   In re: FANNIE MAE/FREDDIE MAC                 Civil Action
   SENIOR PREFERRED STOCK PURCHASE               13-1288
   AGREEMENT CLASS ACTION
   LITIGATIONS.
   __________________________


             TRANSCRIPT OF JURY TRIAL - MORNING SESSION
               BEFORE THE HONORABLE ROYCE C. LAMBERTH
                    UNITED STATES DISTRICT JUDGE


   PLAINTIFFS' APPEARANCES:

   For Plaintiffs:             CHARLES COOPER
                               DAVID THOMPSON
                               VINCENT COLATRIANO
                               PETER PATERSON
                               BRIAN BARNES
                                 Cooper & Kirk, PLLC
                                 1523 New Hampshire Avenue NW
                                 Washington, D.C. 20036

   For Class Plaintiffs:       ERIC ZAGAR
                                 Kessler Topaz Meltzer & Check, LLP
                                 280 King of Prussia Road
                                 Radnor, Pennsylvania 19087

                               HAMISH HUME
                               SAMUEL KAPLAN
                                 Boies Schiller Flexner LLP
                                 1401 New York Avenue NW
                                 Washington, D.C. 20005
     Case 1:13-mc-01288-RCL Document 324-1 Filed 07/14/23 Page 18 of 18
                                                                            2681

1                   And he doesn't have the luxury of time.        He

2       doesn't have a crystal ball.       He doesn't have hindsight.

3       The cap is going to be imposed in less than 150 days.             And

4       once that cap hit, it couldn't be changed by any amendment.

5                   So it boiled down to this:      The risk to the GSEs,

6       to the housing market and the economy, from the potential

7       erosion of the commitment, was so great.         It was so -- the

8       future was so uncertain.      Mr. DeMarco decided that he needed

9       to eliminate that risk entirely.       He needed to take it down

10      to zero.    And that's exactly what the Third Amendment did

11      and the net worth sweep accomplished.

12                  And to be very clear, members of the jury, this

13      isn't all upside for the Treasury Department.          The American

14      taxpayers were taking a tremendous risk because, yes, if the

15      income exceeded the 10 percent under the net worth sweep,

16      Treasury would get that excess.       There's no debate about

17      that.   There's also no debate that the plaintiffs are not

18      claiming as damages that number.       They are claiming as

19      damages something completely different based on the stock

20      price drop.

21                  But it's certainly true that the upside went to

22      Treasury.    But it's also true that the downside risk also

23      went to Treasury and the American taxpayer.         So in a year

24      where $11.7 billion was the amount that Fannie would owe on

25      a dividend.    If Fannie had $100, that's all they had to pay.
